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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

                                        )
UNITED STATES OF AMERICA,
                                        )
                                        )
v.                                              INDICTMENT NO. 1:14-CR-00227
                                        )
                                                      and 1:14-CR-00229
                                        )
GARY EDWIN SHARP,
                                        )
  Defendant.
                                        )


              UNOPPOSED MOTION TO DELAY TURN-IN DATE

      Gary Sharp has received notification from the Bureau of Prisons that he is

required to voluntarily surrender at a specified facility by noon on July 10, 2018.

Mr. Sharp respectfully requests the Court to delay in voluntary surrender date

by four days – to July 14, 2018. In support thereof, he shows the following:

      Gary Sharp was sentenced to six months to serve in a federal prison. As

the Court knows, Mr. Sharp is divorced, and has a young son with his ex-wife.

He has joint custody with his ex-wife, but primary physical custody. After Mr.

Sharp was sentenced, his ex-wife filed to modify the custodial arrangement for

their son. Her motion is attached as an exhibit to this motion. A hearing has been

scheduled on her motion for July 13, 2018. A letter from Mr. Sharp’s attorney (the

attorney handling the custody modification matter) is attached as an exhibit to

this motion, and explains that Mr. Sharp presence is required for the hearing.




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Therefore, Mr. Sharp is asking the Court to grant his request to delay his turn-in

date to July 14, 2018, so he can attend the hearing.

         Mr. Sharp has not yet received his notice from the BOP with his voluntary

surrender information1; the letter received by the clerk’s office was docketed just

a few days ago, on July 2, 2018. Undersigned counsel is currently out of the office

on a family vacation. This motion was prepared and filed as soon as

undersigned counsel learned of the conflict between the surrender date and Mr.

Sharp’s hearing date.

         Undersigned counsel has contacted counsel for the government, and is

authorized to state that the government does not oppose Mr. Sharp’s request to

delay his turn-in to July 14, 2018. If, for some reason, the hearing does not go

forward on the 13th, the government opposes any request to further delay Mr.

Sharp’s turn-in date.

         Therefore, Mr. Sharp asks the Court to enter an Order granting his request,

and allowing him to voluntarily surrender on July 14, 2018 by noon to the facility

designated by the BOP.

         Respectfully submitted, this Friday, July 6, 2018.

                                                               GARLAND, SAMUEL & LOEB, P.C.

                                                               s/Amanda R. Clark Palmer
1It is apparently being delivered via certified mail, which means Mr. Sharp has to be home to sign for it. He has not
yet been home to sign for it because he is still working his full-time job, and is not at home when the mail is
delivered.


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                                        Amanda R. Clark Palmer
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                        CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing document has been formatted with Book

Antigua font, 13 point type which complies with the font size requirements of

Local Rule 5.1C.


                           CERTIFICATE OF SERVICE

      I hereby certify that I have filed the foregoing UNOPPOSED MOTION TO

   DELAY TURN-IN DATE with the clerk of court using the CM/ECF system

   which will automatically send notice of such filing to all attorneys of record.

      This Friday, July 6, 2018.

                                             GARLAND, SAMUEL & LOEB, P.C.

                                             s/Amanda R. Clark Palmer
                                             Amanda R. Clark Palmer
                                             Georgia State Bar No. 130608




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